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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION

WILLIE E. COWANS                                                                            PLAINTIFF

vs.                                               CIVIL ACTION NO. 3:15-CV-077-MPM-JMV

STATE OF MISSISSIPPI, GLEN HALEY, NORTH
CENTRAL ELECTRIC POWER ASSOCIATION,
and DESOTO COUNTY SHERIFF’S DEPARTMENT                                                DEFENDANTS


                  ORDER ADOPTING REPORT AND RECOMMENDATION


       On consideration of the record of this action, the court finds that the Report and

Recommendation [16] of the United States Magistrate Judge dated December 7, 2015, was on that

date duly mailed to pro se plaintiff via USPS; that more than fourteen days have elapsed since service

of said Report and Recommendation; and that while objections thereto have been filed by Plaintiff,

such objections are meritless. Plaintiff filed a 15-page [17] Motion to Object to Dismissal, which

included nothing more than the same miscellaneous copies of a variety of documents that made up

Plaintiff’s previously filed [1] original complaint, [3] amended complaint, and [14] second amended

complaint. The miscellaneous documents constituting [17] Plaintiff’s Motion to Object to Dismissal

remain just a reshuffled copy of the documents previously filed in this action and a duplicate action

filed in this court (see, 3:15-cv-101-MPM-JMV)) lacking, as discussed in the Report and

Recommendation, any assertion of a properly stated claim or basis for this court to exercise

jurisdiction.

        The court is of the opinion that the magistrate judge's Report and Recommendation should be

approved and adopted as the opinion of the court. It is, therefore,

       ORDERED:

        1. That the Report and Recommendation of the United States Magistrate Judge dated
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  December 7, 2015, is hereby approved and adopted as the opinion of the court.

  2. That the case is hereby DISMISSED for lack of subject matter jurisdiction and failure to

  adequately state a claim.

  3. That this case is hereby CLOSED.



  THIS, the 7th day of January, 2016.



                                        /s/ MICHAEL P. MILLS
                                        UNITED STATES DISTRICT JUDGE
                                        NORTHERN DISTRICT OF MISSISSIPPI
